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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


 VIENNA METRO LLC,                                     )
                                                       )
                        Plaintiff,                     )
                                                       )
 v.                                                    )      CASE NO. 1:10-cv-00502
                                                       )               UNDER SEAL
 PULTE HOME CORPORATION,                               )
                                                       )
                        Defendant.                     )

                           MEMORANDUM OPINION AND ORDER

         This matter is before the Court on Plaintiff Vienna Metro LLC’s (“Vienna Metro”)

 Motion for Attorneys’ Fees and Expenses. (Dkt. No. 206.) This is a breach of contract case

 involving a defendant that rarely conceded any issues throughout the lengthy process of

 litigation.

         There are four issues before the Court. The first issue is whether Plaintiff Vienna

 Metro’s attorneys’ fees represent a reasonable number of hours at a reasonable rate in litigating

 its contract dispute against Defendant Pulte Home Corporation (“Pulte”). The second issue is

 whether the Court should reduce the proposed amount of attorneys’ fees where Vienna Metro

 includes a reasonable cost reduction associated with its unsuccessful claims for damages. The

 third issue is whether Plaintiff’s $439,111.09 in expenses related to this case are necessary and

 reasonable. The fourth issue is whether the Court should grant Plaintiff’s full request for costs,

 which include videotapes of depositions, postage and delivery charges incidental to depositions,

 copies of exhibits to depositions, deposition costs of damages experts, pre-trial hearing transcript

 costs, and the pro hac vice fees of Katherine A. Crytzer.
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         The Court grants Plaintiff’s Motion for Attorneys’ Fees and Expenses. First, the Court

 holds that Vienna Metro is entitled to its requested attorney’s fees in the amount of

 $4,137,345.00 because, in light of the Johnson/Barber factors, Vienna Metro has provided (1) a

 reasonable number of hours spent working on its successful claim and (2) sufficient evidence as

 to the reasonableness of its requested rates. Second, the Court holds that it does not need to

 reduce the proposed amount of attorneys’ fees because Vienna Metro applied a reasonable cost

 reduction for its unsuccessful claims for damages. Third, the Court holds that Vienna Metro is

 entitled to its requested costs in the amount of $439,111.09 because these expenditures were

 necessary and reasonable. Finally, the Court finds that Vienna Metro is entitled to the

 $29,967.54 itemized in its Bill of Costs because this amount is reasonable, and Defendant does

 not meet the burden of proving the impropriety of the costs alleged.

                                          I.      BACKGROUND

         This case is about a construction company’s breach of a multi-million dollar real estate

 contract. Plaintiff Vienna Metro and Defendant Pulte entered into a contract to develop

 MetroWest. On June 21, 2006, the parties executed the Declaration, which set forth the parties’

 contractual obligations in developing the MetroWest project. (Def.’s Mot. Summ. J. ¶ 2.) The

 Declaration bound Pulte to perform certain infrastructure work, including design, permitting,

 bonding, and construction over the entire project site within eighteen months of the Declaration’s

 execution. (Compl. ¶ 1; Def.’s Mot. Summ. J. ¶¶ 4, 8.) Furthermore, the Declaration provided

 that:

         “[i]f any party defaults . . . in the performance of any of its . . . obligations . . . and
         fails to cure such default within thirty (30) days after written notice (a ‘Default
         Notice’) from the [Non-Defaulting Party], then the Non-Defaulting Party . . . shall
         be entitled to all the remedies that are available at law or in equity, including,
         without limitation, specific performance . . . .”



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 (Declaration § 5.1.1.) In December 2007 and January 2008, Vienna Metro sent Pulte default

 notices for failing to complete its required work by the appropriate date. (E.g., Def.’s Mot.

 Summ. J. ¶ 8.)

        On May 14, 2010, Plaintiff filed a complaint in this Court. (Compl. at 17.) In addition to

 a claim for specific performance, Plaintiff alleged that Pulte breached the Parties’ contract, and

 that it was entitled to monetary damages for real estate taxes, lost interest, and lost return on

 equity investment. (See generally, Pl.’s Opp’n Def.’s Mot. Summ. J.) Alternatively, Plaintiff

 sought monetary damages for default interest and wasted costs. (See generally id.)

        On February 11, 2011, the Parties filed cross-motions for summary judgment. (Dkt. Nos.

 85-86.) On March 29, 2011, the Court granted Plaintiff’s Motion for Partial Summary Judgment

 and determined that (1) Pulte’s affirmative defenses to breach of contract failed as a matter of

 law, and (2) Pulte materially breached the contract. (Mar. 29, 2011 Order at 7-12.) The Court

 further granted in part Defendant’s Motion for Summary Judgment, holding that Vienna Metro

 could not recover for breach of contract because it could not prove damages. (Id. at 12.) The

 Court held that Vienna Metro “is entitled to attorney’s fees as a result of the breach of contract. .

 . . According to the Declaration, the Non-Defaulting party is entitled to ‘recovery of reasonable

 legal fees and costs of collection’ against the Defaulting Party.” (Id. at 21.)

        On May 6, 2011, the Court conducted a four-day nonjury trial. On May 25, 2011, the

 Court issued its ruling, holding that “(1) specific performance is an adequate remedy, (2) the

 Parties contractually agreed to this remedy, and (3) the balance of equities falls in Plaintiff’s

 favor.” (Mem. Op. & Final J. Order at 20.)

        On June 6, 2011 Vienna Metro filed this Motion for Attorney’s Fees and Costs. (Dkt.

 No. 206.) Vienna Metro calculated its attorneys’ fees at $4,804,200. (Vienna Metro’s Mem.



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 Supp. Mot. Attorneys’ Fees & Expenses at 1) (“Pl.’s Mot. Attorneys’ Fees & Expenses”.)

 Vienna Metro then reduced its counsel’s hourly rates by five percent to account for the billing

 rates of other top firms in Northern Virginia, thus yielding $4,563,990 in attorneys’ fees. (Id. at

 2.) Thereafter, Vienna Metro added $33,060 for contract attorneys’ fees, thus producing a

 lodestar figure of $4,597,050. (Id.) Finally, Vienna Metro subtracted ten percent of the lodestar

 figure because of its unsuccessful claim for damages, which the Court rejected on Defendant’s

 Motion for Summary Judgment. (Id.; Mar. 29, 2011 Order at 12.) Therefore, Vienna Metro

 ultimately requests attorneys’ fees in the amount of $4,137,345. (Pl.’s Mot. Attorneys’ Fees and

 Expenses at 2.) Vienna Metro also requests a $439,111.09 reimbursement for expenses related

 to the following: scanning, printing, copying, electronic storage, computer database research,

 technology support, electronic discovery vendors, scanning and imaging vendors, prior Pulte

 reimbursements, and liability experts. (Id.) Therefore, Vienna Metro requests a total of

 $4,576,456.09 in attorneys’ fees and costs. (Id.)

        Plaintiff has submitted two expert declarations from Messrs. Craig Reilly and Sean

 Murphy, attorneys who practice litigation in Northern Virginia and in the Eastern District of

 Virginia, who confirm that Plaintiff’s counsel’s1 rates are reasonable and comparable to those at

 comparable law firms in Northern Virginia. (Id. at 3-4.) This Motion is now before the Court.

                                  II.     STANDARD OF REVIEW

        Traditionally, under the “American Rule,” parties are responsible for their attorneys’ fees.

 Alyeska Pipeline Serv. Co. v. Wilderness Soc’y, 421 U.S. 240, 247 (1975). However, an




 1
    Plaintiff’s counsel are employed by Washington D.C. law firm Kirkland & Ellis LLP
 (“Kirkland”). Messrs. Murphy and Reilly opined about Kirkland’s rates, comparing them to top
 firms in Northern Virginia.


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 exception to this rule is when attorneys’ fees are provided by statute or a fee shifting provision in

 a contract. Textron Fin. Corp. v. AIC of Manassas, Inc., No. 1:09cv1202, 2010 WL 2928789, at

 *3 (E.D. Va. 2010). Another exception to the requirement that attorneys’ fees be proved at trial

 “is where [a] contract provides for recovery of attorneys’ fees by the prevailing party.” Kraft

 Foods N. Am., Inc. v. Banner Eng’g Sales, Inc., 446 F. Supp. 2d 551, 578 (E.D. Va. 2006). To

 determine the appropriate amount of attorney’s fees, “a court must first determine a lodestar

 figure by multiplying the number of reasonable hours expended times a reasonable rate.”

 Robinson v. Equifax Info. Servs., LLC, 560 F.3d 235, 243 (4th Cir. 2009) (citing Grissom v. Mills

 Corp., 549 F.3d 313, 320 (4th Cir. 2008)). In determining the reasonableness of the number of

 hours and rate, the district court should be guided by the following twelve Johnson/Barber

 factors:

        (1) The time and labor expended; (2) the novelty and difficulty of the questions
        raised; (3) the skill required to properly perform the legal services rendered; (4)
        the attorney’s opportunity costs in pressing the instant litigation; (5) the
        customary fee for like work; (6) the attorney’s expectations at the outset of the
        litigation; (7) the time limitations imposed by the client or circumstances; (8) the
        amount in controversy and the results obtained; (9) the experience, reputation and
        ability of the attorney; (10) the undesirability of the case within the legal
        community in which the suit arose; (11) the nature and length of the professional
        relationship between attorney and client; and (12) attorney’s fees awards in
        similar cases.

 Id. at 243-44 (citing Barber v. Kimbrell’s Inc., 577 F.2d 216, 226 n.28 (4th Cir. 1978))

 (explaining that the Fourth Circuit has adopted the twelve factors set forth in Johnson v. Ga.

 Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974)). Second, the court then “subtracts the fees

 for hours spent on unsuccessful claims unrelated to successful ones.” Id. at 244. Lastly, “[o]nce

 the court has subtracted the fees incurred for unsuccessful, unrelated claims, it then awards some

 percentage of the remaining amount, depending on the degree of success enjoyed by the




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 plaintiff.” Id. (quoting Grissom v. The Mills Corp., 549 F.3d 313, 321 (4th Cir. 2008))

 (alteration in original).

                                          III.    ANALYSIS

         The Court grants Vienna Metro’s Motion for Attorneys’ Fees and Costs in the total

 amount requested of $4,576,456.09. The Court finds that $4,137,345 in attorneys’ fees is

 appropriate because, in light of the Johnson/Barber factors, Vienna Metro has provided

 sufficient documentation of (1) a reasonable number of hours spent working on its successful

 claim and (2) sufficient evidence as to the reasonableness of its requested rates. Moreover, the

 Court also holds that it does not need to apply a separate reduction for Vienna Metro’s

 unsuccessful damages claim because Plaintiff has reasonably excluded this claim from its request

 for fees. The Court also awards $439,111.09 in costs because this amount is reasonable. Finally,

 the Court holds that Vienna Metro is entitled to the $29,967.54 in its Bill of Costs because

 Defendant does not meet the burden of proving the impropriety of the costs alleged. Each issue

 will be discussed in turn.

         A. Vienna Metro’s Lodestar Figure is Reasonable

         The Court holds that $4,137,345 in attorneys’ fees is appropriate because, in light of the

 Johnson/Barber factors, Vienna Metro has provided sufficient documentation of (1) a reasonable

 number of hours spent working on its successful claim and (2) sufficient evidence as to the

 reasonableness of its requested rates. Each issue will be discussed in turn.

                     1. Vienna Metro Has Provided a Reasonable Amount of Hours Spent on its
                        Successful Claim

         Vienna Metro has provided sufficient evidence demonstrating a reasonable amount of

 hours spent on its successful claim because the relevant Johnson/Barber factors weigh in Vienna

 Metro’s favor. The first step in establishing whether attorneys’ fees are reasonable is to


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 “determine a lodestar figure by multiplying the number of reasonable hours expended times a

 reasonable rate.” Robinson v. Equifax Info. Servs., 560 F.3d 235, 244 (4th Cir. 2009). In

 determining the reasonableness of the number of hours and rate, the district court should be

 guided by the twelve Johnson/Barber factors listed above. Id. at 243-44. A court is not

 obligated to consider each and every factor individually, but rather, the “determination of the

 hourly rate will generally be the critical inquiry in setting the reasonable fee, and the burden rests

 with the fee applicant to establish the reasonableness of a requested rate.” Id. at 244 (citing

 Depaoli v. Vacation Sales Assocs., LLC, 489 F.3d 615, 622 (4th Cir. 2007)). Moreover, some of

 the twelve factors will frequently overlap. See, e.g., Nahigian v. Juno-Loudoun, LLC, No.

 1:09cv725, 2010 WL 4623895, at *10 (E.D. Va. Nov. 5, 2010) (analyzing the second, third, and

 ninth factors together).

        The attorney fee applicant is charged with the duty of “submit[ting] evidence supporting

 the hours worked and rates claimed. Where the documentation of hours is inadequate, the

 district court may reduce the award accordingly.” Hensley v. Eckerhart, 461 U.S. 424, 433

 (1983). “In addition to the attorney’s own affidavits, the fees applicant must produce satisfactory

 ‘specific evidence of the prevailing market rates in the relevant community’ for the type of work

 for which he seeks an award.” Plyler v. Evatt, 902 F.2d 273, 277 (4th Cir. 1990) (quoting Spell

 v. McDaniel, 824 F.2d 1380, 1402 (4th Cir. 1987)). Specific evidence that is “sufficient to verify

 the prevailing market rates [includes] affidavits of other local lawyers who are familiar both with

 the skills of the fee applicants and more generally with the type of work in the relevant

 community.” Robinson, 560 F.3d at 245.




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        The Court holds that the first and eighth Johnson/Barber factors establish that Vienna

 Metro has provided sufficient evidence supporting its request for a reasonable number of hours

 for its attorneys’ work in its successful claims. Each factor will be discussed in turn.

                            a. Time and Labor Expended

        First, the Court holds that Vienna Metro’s proposed lodestar figure includes a reasonable

 number of hours because the hours billed were a direct result of Pulte’s actions. The first

 Johnson/Barber factor, time and labor expended, weighs in favor of Vienna Metro. “The party

 seeking an award of fees should submit evidence supporting the hours worked and rates

 claimed.” Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). “Where the documentation of hours

 is inadequate, the district court may reduce the award accordingly.” Id.

        The Court holds that the amount of hours is reasonable in light of the circumstances

 because Vienna Metro has submitted sufficient evidence documenting the many hours that it

 invested in litigating this matter, and the high number of hours is justified because of

 Defendant’s failure to cooperate before and during the litigation process. First, Vienna Metro

 sent three separate default notices to Pulte, and Pulte failed to cooperate despite its eventual

 admission that it “failed to complete all of its work within eighteen months after the [E]ffective

 [D]ate.” (Mem. Order 5.) Second, Pulte listed thirteen affirmative defenses for breaching the

 Declaration, even though it knew that it had made a business decision to breach its obligations.

 (Mem. Op. & Final J. Order at 22.) Had Pulte admitted that it breached the Declaration because

 of the potential $30,000,000 savings, Vienna Metro’s attorneys’ fees and costs would have been

 greatly reduced. Third, Pulte’s discovery filings were broad and inconvenient because they

 consisted of over 39,000 records and were served three months after the close of discovery.

 (Clare Decl. ¶¶ 40, 45.) These inconvenient discovery filings forced Vienna Metro to expand its



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 litigation team in preparation for trial. (Id. at ¶ 46.) Fourth, Vienna Metro successfully moved in

 limine on six categories of evidence. (Apr. 14, 2011 Order.) Finally, Pulte’s method of trying

 this case further expanded the amount of time and labor utilized by Plaintiff’s litigation team.

 For example, Pulte (1) submitted 1,061 potential exhibits at trial; (2) listed more than 140

 potential witnesses for trial; and (3) issued fourteen trial subpoenas. Therefore, Pulte’s litigation

 approach forced Vienna Metro to expend unnecessary amounts of time and labor preparing to

 cross-examine many witnesses who were not called to testify and to study over 1,000 trial

 exhibits that were not introduced into evidence.

         The Court rejects Defendant’s objections to the number of hours Kirkland has requested.

 Defendant attempts to refute Kirkland’s claim that it invested 2,121.75 hours in this case during

 only one month because this amount is unreasonably high for “preparing for the equivalent of a

 two-day bench trial.” (Def.’s Opp’n Mot. Attorneys’ Fees and Expenses at 10.) As stated above,

 Defendant overlooks the fact that Plaintiff had to prepare for (1) a four-day trial; (2) a dozen

 witnesses subpoenaed by Defendant; (3) successful briefing of six motions in limine; and (4)

 over 1,000 trial exhibits listed in Pulte’s pretrial disclosures. The Court finds that Plaintiff’s

 litigation team expended a reasonable amount of time and labor because the hours were a direct

 result of Pulte’s actions.

                              b. Amount in Controversy and Results Obtained

         The Court holds that the amount in controversy and results obtained do not require

 reducing the attorneys’ fees and costs because Plaintiff has demonstrated reasons supporting

 their claim for the amount in controversy and Plaintiff achieved a substantial measure of

 success litigating these claims. The eighth Johnson/Barber factor is “the amount in controversy

 and the results obtained.” Robinson v. Equifax Info. Servs., LLC, 560 F.3d 235, 243 (4th Cir.



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  2009) (citing Barber v. Kimbrell’s Inc., 577 F.2d 216, 226 n.28 (4th Cir. 1978). At the outset, it

  is important to note that this litigation involved a $100 million dollar development at the Vienna

  Metro Station, one of the most prime locations under development in Northern Virginia. This

  litigation concerned Pulte’s business judgment to breach the parties’ joint development

  agreement, holding the MetroWest commercial development in virtual limbo and abehyance for

  four years while Pulte pursued its own aims. Pulte claims that Vienna Metro’s relative success

  in this litigation is limited because it did not prevail on its damages claim and only prevailed on

  its claim for specific performance. (Def.’s Opp’n Mot. Attorneys’ Fees & Expenses at 26.)

  Pulte’s understates the significance of MetroWest’s success in this matter.

         Defendant’s argument fails because Plaintiff succeeded on its claim for specific

  performance after extensive discovery and comprehensive motions practice. Defendant

  overlooks that (1) Vienna Metro successfully moved for summary judgment on eight of Pulte’s

  affirmative defenses; (2) Defendant’s other affirmative defenses failed at trial; (3) Plaintiff

  presented evidence at a four-day trial; (4) Plaintiff prepared to cross-examine over a dozen

  witnesses who did not testify and studied over 1000 trial exhibits that were not introduced into

  evidence; and (5) the Court adopted a substantial amount of Plaintiff’s proposed Specific

  Performance Order. These are only a few of the obstacles Vienna Metro faced in this case and in

  attempting to persuade the Court to grant a unique remedy like specific performance. Because

  Vienna Metro was successful in this present action when the Court granted specific performance,

  the amount of hours submitted by Plaintiff are reasonable despite Plaintiffs’ unsuccessful claim

  for damages. Accordingly, the Court holds that Plaintiff has demonstrated that the billed hours it

  included in its request are reasonable and pertain to its successful claim.




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                     2. Vienna Metro has Submitted a Reasonable Rate for its Fees

         The Court holds that Plaintiff’s proposed lodestar figure also includes a reasonable rate

  because (1) two expert declarations demonstrate the reasonableness of the rates in comparison to

  Northern Virginia rates for comparable work and (2) the relevant Johnson/Barber factors weigh

  in Vienna Metro’s favor. Each issue will be discussed in turn.

                            a. Mr. Murphy and Mr. Reilly’s Declarations Demonstrate the
                               Reasonableness of Vienna Metro’s Rates

         The Court holds that Plaintiff has provided sufficient evidence regarding the

  reasonableness of its rates because Mr. Murphy and Mr. Reilly’s declarations establish that each

  attorney is familiar with the work of the lead attorneys in this case and that Vienna Metro’s

  requested rates are reasonable according to the prevailing market rate in Northern Virginia. “In

  addition to the attorney’s own affidavits, the fees applicant must produce satisfactory ‘specific

  evidence of the prevailing market rates in the relevant community’ for the type of work for

  which he seeks an award.” Plyler v. Evatt, 902 F.2d 273, 277 (4th Cir. 1990) (quoting Spell v.

  McDaniel, 824 F.2d 1380, 1402 (4th Cir. 1987)). Specific evidence that is “sufficient to verify

  the prevailing market rates [includes] affidavits of other local lawyers who are familiar both with

  the skills of the fee applicants and more generally with the type of work in the relevant

  community.” Robinson v. Equifax Info. Servs., LLC, 560 F.3d 235, 245 (4th Cir. 2009).

         Vienna Metro has submitted the declarations of Messrs. Craig C. Reilly and Sean F.

  Murphy, two experts who are familiar with this case and practice in the Eastern District of

  Virginia. (Murphy Decl. ¶ 3; Reilly Decl. ¶ 3.) Sean F. Murphy has litigated contract and tort

  claims in commercial cases, fiduciary disputes, patent infringement cases, and government

  contract actions in over seventy-five cases before the Court. (Murphy Decl. ¶ 3.) He is also

  currently the President-elect of the Northern Virginia Chapter of the Federal Bar Association and


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  has taught sessions on “Ethics and Professionalism in Discovery.” (Id. ¶ 4.) Craig C. Reilly has

  appeared before the court over one-hundred times and has over twenty-five years of experience

  litigating in many legal areas, including contracts, real estate, and commercial law. (Reilly Decl.

  ¶ 5; id. at Ex. 1.)    Moreover, Mr. Reilly surveyed the rates offered by Northern Virginia firms

  capable of handling this type of complex litigation and compared Kirkland’s rates offered in this

  case. (Reilly Decl. ¶ 12.) Mr. Reilly concluded that, after applying the five percent discount that

  Kirkland deducted in this case, the firm’s rates fall “well within the applicable prevailing rate

  ranges.” (Id. ¶ 17.) Mr. Reilly submits the following findings:

                                 2010 Range of Hourly Rates in Northern Virginia

  Paralegal         1-3 [years of     4-7 [years of    8-10 [years of   11-19 [years   20+ [years of
                    experience]       experience]      experience]      of experience] experience]

  $120-340          $250-415          $350-515         $415-570         $520-675        $505-810



                                 2011 Range of Hourly Rates in Northern Virginia

  Paralegal         1-3 [years of     4-7 [years of    8-10 [years of   11-19 [years   20+ [years of
                    experience]       experience]      experience]      of experience] experience]

  $130-350          $250-435          $350-600         $465-640         $520-770        $505-820



                                 Kirkland & Ellis LLP Timekeepers’ Hourly Rates

  [Attorney]        Experience        2010 Rate        2010 Rate 5% 2011 Rate           2011 Rate 5%
                    (in years)        Actual           Discount     Actual              Discount

  Jeff Willian      25                $685             $651             $725            $689

  Tom Clare         16                $625             $594             $700            $665

  Julie             7                 $525             $499             $550            $532
  Posteraro

  Rebecca           6                 $495             $470             $550            $523
  Koch

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  Elizabeth        6                $495             $470             $550             $523
  Locke

  Kate             6                $495             $470             $560             $523
  O’Scannlain

  Katie Crytzer    2                $295             $280             $385             $366

  Kim              Sr. Legal        $270             $257             $290             $276
  Chervenak        Asst. (23
                   years)

  Jennifer         Legal Assist.    $155             $147             $165             $157
  Shedlosky        (1 year)

  (Id. at 17.) Mr. Murphy and Mr. Reilly have concluded that Kirkland’s hourly rates are

  reasonable and coincide with the prevailing market rates offered by Northern Virginia firms

  capable of handling “a case of this magnitude and complexity.” (Murphy Decl. ¶ 10; Reilly

  Decl.¶ 11.)

         The Court finds Mr. Murphy and Mr. Reilly’s Declarations satisfactory in establishing

  the reasonableness of the market rate in the relevant community of Northern Virginia because (1)

  Mr. Reilly’s Declaration demonstrates his knowledge and experience with attorney fee rates for

  similar services in Northern Virginia, and (2) Mr. Murphy has shown his ethical expertise and

  experience litigating similar matters before the Court. Moreover, Vienna Metro’s fees are

  reasonable because Plaintiff has voluntarily reduced its attorneys’ hourly rates by five percent.

  Accordingly, Plaintiff has provided sufficient evidence regarding the reasonableness of its rates

  because Mr. Murphy and Mr. Reilly’s declarations establish that Vienna Metro’s requested rates

  are reasonable according to the prevailing market rate in Northern Virginia.




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                               b. Vienna Metro’s Submitted Hours Are Reasonable in Light of the
                                  Twelve Johnson/Barber Factors

          The Court holds that Vienna Metro’s requested fees are reasonable because the second,

  third, fifth, ninth, and eleventh Johnson/Barber factors weigh in favor of Plaintiff. These factors

  will be discussed in turn.

                                      i. The Novelty and Difficulty of the Questions Raised

          The Court holds that the second Johnson/Barber factor weighs in favor of Vienna Metro

  because this case involved a complex real estate contract and lengthy litigation. The second

  Johnson/Barber factor is the “novelty and difficulty of the questions raised.” Robinson, 560

  F.3d at 243. The Court finds that this factor supports the reasonableness of Kirkland’s rates

  because this case involved a complex real-estate contract and a four-day nonjury trial.

  According to Mr. Murphy and Mr. Reilly, few firms are capable of handling this type of case.

  Accordingly, the second Johnson/Barber factor weighs in favor of Plaintiff.

                                     ii. The Skill Required to Perform the Legal Services Rendered

          The Court holds that the third Johnson/Barber factor also weighs in favor of Vienna

  Metro because this case required attorneys with particular skills in litigation. The third

  Johnson/Barber factor is the “skill required to perform the legal services rendered.” Id. The

  Court finds that this factor supports the reasonableness of Kirkland’s rates because Kirkland is

  one of the skilled firms capable of rendering the type of legal services involved in this case.

  Vienna Metro’s lead counsel, Thomas A. Clare, P.C. and Jeffrey L. Willian, P.C., have litigated

  for a combined period of over forty years. (Pl.’s Mot. Attorneys’ Fees & Expenses at 13.) This

  experience was particularly helpful in a case involving a complex real estate contract and a four-

  day nonjury trial. Accordingly, the Court finds that the third Johnson/Barber factor weighs in

  favor of Plaintiff.


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                                   iii. The Customary Fee for Like Work

          The Court holds that the fifth Johnson/Barber factor also weighs in favor of Plaintiff

  because Mr. Reilly’s survey demonstrates that a law firm similarly competent in complex real

  estate litigation charges comparable rates. The fifth Johnson/Barber factor is “the customary fee

  for like work.” Robinson v. Equifax Info. Servs., LLC, 560 F.3d 235, 243 (4th Cir. 2009) (citing

  Barber v. Kimbrell’s Inc., 577 F.2d 216, 226 n.28 (4th Cir. 1978). The Court finds that this

  factor supports the reasonableness of Kirkland’s rates because Mr. Murphy and Mr. Reilly’s

  Declarations demonstrate that Plaintiff’s attorneys’ fees are reasonable and comparable to the

  prevailing market rates in Northern Virginia. Moreover, Vienna Metro decreased its attorneys’

  hourly rates by five percent in recognition that Washington, D.C. firms’ hourly rates are

  sometimes higher than the prevailing rates in Northern Virginia. (Pl.’s Mot. Attorneys’ Fees &

  Expenses at 17.) Accordingly, the Court finds that the fifth Johnson/Barber factor weighs in

  favor of Plaintiff.

                                    iv. The Experience, Reputation, and Ability of the Attorney

          The Court holds that the ninth Johnson/Barber factor also weighs in favor of Plaintiff

  because Plaintiff’s litigation staff is experienced and reputable. The ninth Johnson/Barber factor

  is “the experience, reputation and ability of the attorney.” Robinson v. Equifax Info. Servs., LLC,

  560 F.3d 235, 243 (4th Cir. 2009) (citing Barber v. Kimbrell’s Inc., 577 F.2d 216, 226 n.28 (4th

  Cir. 1978). The Court finds Kirkland’s fees reasonable under this factor because, as stated

  above, Plaintiff’s head litigators have a combined experience of over forty years handling

  complex real estate litigation. Moreover, the Declarations of Mr. Murphy and Mr. Reilly have

  highlighted Kirkland’s reputation and ability to handle these types of cases. Accordingly, the

  Court finds that the ninth Johnson/Barber factor weighs in favor of Plaintiff.



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                                     v. The Nature and Length of the Professional Relationship
                                        between Attorney and Client.

         The Court holds that the eleventh Johnson/Barber factor also weighs in favor of Plaintiff

  because Kirkland has a longstanding relationship with Vienna Metro. The eleventh

  Johnson/Barber factor is “the nature and length of the professional relationship between attorney

  and client.” Robinson, 560 F.3d at 243. The Court holds that Vienna Metro’s fees are

  reasonable in light of its relationship with Kirkland. Vienna Metro is an affiliate of Clark Realty

  Capital. (Pl.’s Mot. Attorneys’ Fees & Expenses at 13.) Kirkland first represented Clark in 2002

  and has handled many of Clark’s significant litigation matters since that date. (Id.) Therefore,

  the Court finds that the nature and length of the professional relationship between these parties

  weighs in favor of the reasonableness of Vienna Metro’s rates.

         Accordingly, Plaintiff’s lodestar calculation is reasonable because, in light of the

  Johnson/Barber factors, Vienna Metro has provided (1) a reasonable number of hours spent

  working on its successful claim and (2) sufficient evidence as to the reasonableness of its

  requested rates.

         B. The Court Does Not Have to Reduce the Award Because Vienna Metro Has
            Already Applied a Reasonable Deduction for its Unsuccessful Claim for
            Damages

         The Court finds that a reduction is not needed for unsuccessful and unrelated claims

  because Vienna Metro has excluded such claims from its request. Once a court has determined

  the reasonableness of the lodestar figure, “the ‘court . . . should subtract fees for hours spent on

  unsuccessful claims unrelated to successful ones.’” Robinson v. Equifax Info. Servs., LLC, 560

  F.3d 235, 245 (4th Cir. 2008) (quoting Grissom v. The Mills Corp., 549 F.3d 313, 320 (4th Cir.

  2002)). When successful and unsuccessful claims are related, “[m]uch of counsel’s time will be

  devoted generally to the litigation as a whole, making it difficult to divide the hours expended on


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  a claim-by-claim basis.” Hensley v. Eckerhart, 461 U.S. 424, 435 (1983). This occurs when

  separate claims contain a “common core of facts.” Id.

          Here, the Court finds that all claims in this action were unified by a common core of facts

  pertaining to Pulte’s breach of the Declaration. The hours spent on Vienna Metro’s successful

  claim for specific performance are thus difficult to isolate because of this claim’s relation to the

  claim for damages. Vienna Metro applied a ten percent reduction for its unsuccessful claim for

  damages. (Pl.’s Mem. Attorneys’ Fees 2.) In doing so, it relied on Judge Cacheris’ opinion in

  Signature Flight Support Corp. v. Landow Aviation Ltd. Partnership, 730 F. Supp. 2d 513 (E.D.

  Va. 2010), where the Court applied a ten percent reduction to account for the plaintiff’s failure to

  collect monetary damages despite prevailing on its injunctive goals. Id. at 529. In Signature

  Flight, the plaintiff alleged five counts: (1) declaratory judgment, (2) breach of contract, (3)

  intentional interference with contract, (4) accounting and disgorgement, and (5) permanent

  injunctive relief. Id. at 516. The parties went to trial, despite their initial suggestion that they

  would attempt to settle the case. Id. at 517. The Court found in favor of defendant as to the

  claim for breach of contract because plaintiff could not prove damages. Id. Defendant also

  prevailed on the claim for accounting and disgorgement, but lost on plaintiff’s request for

  declaratory judgment and permanent injunction, and on its own counterclaims for declaratory

  judgment. Id. The Court noted “that [p]laintiff . . . did not recover damages for its breach of

  contract claim based on its failure to prove the amount of damages with reasonable certainty and

  that [p]laintiff did not win the relief of accounting and disgorgement.” Id. at 519. However, the

  court recognized plaintiff succeeded because it “established that [d]efendant ha[d] breached . . . ,

  won all remaining claims it brought against [d]efendant with the exception of accounting and

  disgogrgement, and . . . . successfully defended against all affirmative defenses.” Id. The Court



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  ultimately awarded $1,130,843 in attorneys’ fees after it applied a ten-percent reduction from

  plaintiff’s final lodestar amount. Id. at 528. The Court noted that establishing breach was

  essential for both the declaratory relief and injunctive claims and, even though plaintiff did not

  recover $4,167,910 in damages connected to defendant’s breach, it had a significant amount of

  success in the litigation. Id. at 528-29.

         The Court is persuaded by Plaintiff’s comparison of the present case to Signature Flight

  for three reasons. First, as in Signature Flight, Plaintiff’s recovery was limited by its failure to

  recover damages. Second, in both cases the plaintiff prevailed on all of the affirmative defenses

  alleged by their adversary. Third, in both cases the plaintiffs alleged claims “involving a

  common core of facts” because they had to prove breach in order to earn declaratory or

  injunctive relief. See id. at 528. Accordingly, the Court finds that Plaintiff’s ten-percent lodestar

  reduction is reasonable.

         Defendant argues that a ten percent reduction is insufficient and that a forty-percent

  lodestar reduction is more appropriate. First, Defendant’s reliance on Nahigian v. Juno-

  Loudoun, LLC, No. 1:09cv725, 2010 WL 4623895 (E.D. Va. Nov. 5, 2010) is misplaced. In that

  case, Judge Cacheris reduced the lodestar amount by forty percent after he recognized that

         [i]n the instant case, the unsuccessful claims were fraud and [Virginia Consumer
         Protection Act] claims against Defendant and Ritz and ILFSDA claims against
         Ritz. Defendant argues that the fraud and ILFSDA claims are distinctly different
         claims that are based on different facts and legal theories. . . . Defendant points
         out that a sizeable portion of the requested fee was accumulated before Plaintiffs
         amended their complaint to add the ILFSDA claims. . . . Plaintiffs’ successful
         ILFSDA claim was based on faulty disclosure and not on fraud, and its legal
         elements were different from those in its fraud and VCPA claims.

  Id. at *14. Defendant ignores that our case is different because Plaintiff was required to prove

  that Defendant breached the contract to prevail on its claim for specific performance or damages.




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  Therefore, irrespective of Plaintiff’s claim for damages, Plaintiff would have had to prove that

  Defendant breached the Declaration.

          Moreover, Defendant’s reliance on Lilienthal v. City of Suffolk, 322 F. Supp. 2d 667

  (E.D. Va. 2004), is also misplaced. In Lilienthal, Judge Smith reduced a lodestar calculation by

  forty percent after she noted that the plaintiffs had initially alleged constitutional violations,

  sought an injunction, and requested compensatory and punitive damages. Id. at 675. Plaintiffs’

  success in Lilienthal was “less than total” because they settled the case and, in doing so,

  significantly departed from their “long-entrenched position[].” Id. This case is different because

  Plaintiff only failed in its claim for damages and had to endure a long process that included a

  four-day trial before earning the remedy of specific performance.

          Finally, Defendant’s comparison to Quantum Systems Integrators, Inc. v. Sprint Nextel

  Corp., No. 1:07-cv-491, 2009 WL 3423848 (E.D. Va. Oct. 16, 2009) lacks merit. In Quantum

  Systems, the Court reduced a lodestar calculation by forty percent after entering a final judgment

  of $69,600, an amount much less than the plaintiff’s original demands in excess of $1,400,000.

  Id. at 1. Moreover, Quantum Systems also involved an unsuccessful fraud claim, a contrast to the

  present case. Id.

          None of these cases involved the factual scenario from our case: (1) a defendant who was

  going to present 140 witnesses; (2) a defendant who threatened to introduce more than 1,000

  potential trial exhibits; (3) a prevailing party that successfully filed six motions in limine; and (4)

  a dispute over a complex real estate agreement. Therefore, the Court finds that a reduction is not

  needed for Plaintiff’s failed damages claim because Plaintiff has already appropriately

  considered this claim in its request for attorneys’ fees.




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             C. Vienna Metro’s Expenses Are Reasonable

         The Court holds that Vienna Metro’s total expenses of $439,111.09 are reasonable under

  the circumstances. “Litigation expenses such as supplemental secretarial costs, copying,

  telephone costs and necessary travel, are integrally related to the work of an attorney and the

  services for which outlays are made may play a significant role in the ultimate success of

  litigation . . . .” Wheeler v. Durham City Bd. of Educ., 585 F.2d 618, 623-24 (4th Cir. 1978).

         Here, Defendant objects to Kirkland’s (1) scanning, printing and copying; (2) electronic

  data storage; (3) computer database research; and (4) use of an electronic discovery vendor.

  (Def.’s Opp’n Mot. Attorneys’ Fees & Expenses 29.) Defendant posits that these expenses were

  unreasonable and that the Court should apply a deduction between forty percent of the requests

  for expenses and the $353,780.42 total of these categories of expenditures. However, these

  expenditures are reasonable and necessary in such a multi-million dollar dispute because they

  provide efficient means of producing the documents required in complex real estate litigation.

  Accordingly, the Court holds that $439,111.09 is a reasonable amount under the circumstances.

             D. Vienna Metro is Entitled to the $29,967.54 in its Bill of Costs

         Plaintiff is entitled to the $29,967.54 in taxable costs because Defendant does not meet

  the burden of proving the impropriety of the costs alleged. Under the Federal Rules of Civil

  Procedure, “costs . . . should be allowed to the prevailing party.” Fed. R. Civ. P. 54(d)(1).

  Therefore, the rule creates a presumption that the Court will award costs to the prevailing party.

  Teague v. Bakker, 35 F.3d 978, 996 (4th Cir. 1994). Title 28 of the United States Code further

  enumerates the following items which a court may tax as “costs” under Rule 54:

         1) Fees of the clerk and marshal;

         2) Fees for printed or electronically recorded transcripts necessarily obtained for
            use in the case;


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         3) Fees and disbursements for printing and witnesses;
         4) Fees for exemplification and the costs of making copies of any materials
            where the copies are necessarily obtained for use in the case;
         5) Docket fees under section 1923 of Title 28; and
         6) Compensation of court appointed experts, compensation of interpreters, and
            salaries, fees, expenses, and costs of special interpretation services under
            section 1828 of this title.
  28 U.S.C. § 1920 (2006). “Once it is established that an item falls within 28 U.S.C. § 1920, the

  prevailing party is presumed to be entitled to recover costs, and the burden is on the losing party

  to show impropriety of an allowance.” Cofield v. Crumpler, 179 F.R.D. 510, 514 (E.D. Va.

  1998). Pro hac vice fees fall within the first category of “fees of the Clerk.” Synergistic Int’l

  L.L.C. v. Korman, No. 2:05cv49, 2007 WL 517676, at *2 (E.D. Va. Feb. 8, 2007). Moreover,

  “costs of a deposition are taxable when a deposition is used at trial, or ‘when the taking of a

  deposition is reasonably necessary at the time of its taking.’” Cofield, 179 F.R.D. at 517. A

  deposition is necessary if it is “relevant and material for the preparation in the litigation.” Ford

  v. Zalco Realty Inc., 708 F. Supp. 2d 558, 562 (E.D. Va. 2010). A deposition is not required to

  be used at trial in order to qualify under 28 U.S.C. § 1920(2). Cofield, 179 F.R.D. at 518.

         Defendant argues that the Court should exclude the following costs from Plaintiff’s Bill

  of Costs:

  Videotapes of depositions                              $10,848.75

  Postage/delivery charges incidental to depositions     $791.40

  Copies of Exhibits to depositions                      $805.00

  Deposition costs of damages experts                    $2,657.48

  Pre-trial hearing transcript costs                     $237.65

  Pro hac vice fees of Katherine A. Crytzer              $50.00

  Total exclusions                                       $15,390.28


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  (Def.’s Objections Vienna Metro’s Bill of Costs 1.) First, the Court finds that the pro hac vice

  fees of Katherine A. Crytzer are appropriately included in Vienna Metro’s Bill of Costs because

  they are fees of the clerk under 28 U.S.C. § 1920, and Defendant fails to meet its burden of

  demonstrating why this fee should be excluded. Second, the Court finds that the (1) videotapes

  of depositions, (2) postage and delivery charges incidental to depositions, (3) copies of exhibits

  to depositions, (4) deposition costs of damages experts, and (5) pre-trial hearing transcript costs

  should also be included in Vienna Metro’s Bill of Costs because these costs are incident to the

  depositions that were necessarily obtained for use in this case, and Defendant has failed to meet

  its burden of proving that Plaintiff should not be entitled to these costs. Accordingly, the Court

  finds that Vienna Metro is entitled to the $29,967.54 itemized in its Bill of Costs because this

  amount is reasonable and Defendant does not meet the burden of proving the impropriety of the

  costs alleged.

                                         IV.     CONCLUSION

         For all of the above reasons, the Court grants Plaintiff’s Motion for Attorneys’ Fees and

  Expenses. First, the Court holds that Vienna Metro is entitled to its requested attorney’s fees in

  the amount of $4,137,345.00 because, in light of the Johnson/Barber factors, Vienna Metro has

  provided (1) a reasonable number of hours spent working on its successful claim and (2)

  sufficient evidence as to the reasonableness of its requested rates. Second, the Court also holds

  that it does not need to reduce the proposed amount of attorneys’ fees because Vienna Metro

  applied a reasonable cost reduction for its unsuccessful claims for damages. Third, the Court

  holds that Vienna Metro is entitled to its requested costs in the amount of $439,111.09 because

  this amount is reasonable in light of the circumstances. Finally, the Court holds that Vienna

  Metro is entitled to the $29,967.54 itemized in its Bill of Costs because this amount is

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  reasonable, and Defendant does not meet the burden of proving the impropriety of the costs

  alleged.

         Accordingly, it is hereby

         ORDERED that Plaintiff Vienna Metro’s Motion for Attorneys’ Fees and Costs is

  GRANTED. Defendant Pulte is liable to Vienna Metro for attorneys’ fees and costs in the total

  amount of $4,576,456.09. It is further

         ORDERED that Plaintiff’s Motion for Leave to File an Amended Bill of Costs (Dkt. No.

  243) is GRANTED.



         The Clerk is directed to forward a copy of this Order to counsel of record.



         ENTERED this 24th day ofAugust, 2011.



  Alexandria, Virginia                                _________________/s/_____________

                                                      Gerald Bruce Lee

                                                      United States District Judge




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